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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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                                       WESTERN DIVISION
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       KINSALE INSURANCE COMPANY, an               Case No.: CV 20-10302-DMG (AFMx)
  13   Arkansas corporation,
  14                      Plaintiff,               JUDGMENT [64]
  15         vs.
  16   GOLDEN BEGINNINGS, LLC dba
       NONNO'S GUEST HOME, a California
  17   limited liability company; TELITHA
       McGEE, deceased, by and through her
  18   personal/legal representative, DAWN
       McGEE ROUTT; DAWN McGEE
  19   ROUTT, an individual; MONICA
       AUSTIN, an individual; DAVID HALL,
  20   an individual; SABRINA LOUIS, an
       individual,
  21
                   Defendants.
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             WHEREAS on September 15, 2021 the Court granted partial summary
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       judgment in favor of plaintiff Kinsale Insurance Company (“KINSALE”) on the
  25
       First Claim for Relief (Declaratory Relief re Duty to Defend – Policy Based
  26
       Defenses), Second Claim for Relief (Declaratory Relief re Duty to Indemnify –
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       Policy Based Defenses), Third Claim for Relief (Declaratory Relief re Duty to
  28
       Defend – Breach of Warranty), Fourth Claim for Relief (Declaratory Relief re Duty


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   1   to Indemnify – Breach of Warranty) and Seventh Claim for Relief (Declaratory
   2   Relief re Reimbursement of Defense Fees and Costs); and
   3         WHEREAS the Court determined in its Order granting KINSALE’s Motion
   4   for Partial Summary Judgment [Doc. # 63] that KINSALE never had a duty to
   5   defend defendant GOLDEN BEGINNINGS, LLC dba NONNO'S GUEST HOME
   6   (“GOLDEN BEGINNINGS”) with regard to McGee, et al. v. Golden Beginnings,
   7   LLC et. al., Los Angeles County Superior Court Case No. 20STCV20695 (the
   8   “McGee Action”) under KINSALE Allied Health Professional Liability / General
   9   Liability Policy number 0100090904-0 (07/01/19-07/19/20) (the “POLICY”), both
  10   due to the application of the terms, conditions, exclusions and endorsements of the
  11   POLICY and due to GOLDEN BEGINNINGS’ material breach of warranty in the
  12   application for the POLICY; and
  13         WHEREAS the Court determined that KINSALE is entitled to
  14   reimbursement of attorney’s fees and costs incurred from the date of its reservation
  15   of rights (November 6, 2020) forward in defense of GOLDEN BEGINNINGS,
  16   pursuant to the Seventh Claim for Relief; and
  17         WHEREAS the Parties have stipulated that KINSALE will waive the right of
  18   such reimbursement contingent upon for GOLDEN BEGINNINGS’ assumption of
  19   its own defense effective as of September 15, 2021, either by retaining its own
  20   counsel and signing and filing a substitution of attorney form in the McGee Action
  21   effective as of September 15, 2021 or, alternatively, separately retaining previously
  22   appointed defense counsel Angela Haskins, Esq. of Haight, Brown & Bonesteel,
  23   LLP to defend the McGee Action on its behalf, effective September 15, 2021; and
  24         WHEREAS KINSALE has established that it never had a duty to defend or
  25   indemnify defendant GOLDEN BEGINNINGS with regard to the McGee Action,
  26   and is therefore entitled to have judgment in its favor on the First, Second, Third,
  27   Fourth, and Seventh Claims for Relief; and
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   1         WHEREAS the Parties have stipulated that KINSALE may dismiss the Fifth
   2   and Sixth Claims for Relief without prejudice as moot; and
   3         WHEREAS defendants TELITHA McGEE, deceased, by and through her
   4   personal/legal representative, DAWN McGEE ROUTT; DAWN McGEE ROUTT,
   5   an individual; MONICA AUSTIN, an individual; DAVID HALL, an individual; and
   6   SABRINA LOUIS, an individual (collectively “UNDERLYING PLAINTIFFS”)
   7   previously stipulated and agreed with KINSALE that the UNDERLYING
   8   PLAINTIFFS would be bound by any Judgment entered in favor of KINSALE
   9   [Doc. # 42], and such was Ordered by the Court [Doc. # 43];
  10         IT IS HEREBY ADJUDGED AND DECREED that
  11         1.     Judgment is entered in favor of KINSALE on the First Claim for Relief
  12   on the Complaint [Doc. # 1] to wit, that after application of the terms, conditions,
  13   exclusions and endorsements of Allied Health Professional Liability / General
  14   Liability Policy number 0100090904-0 (07/01/19-07/19/20) (the “POLICY”) issued
  15   by KINSALE to GOLDEN BEGINNINGS, there is no potential for coverage for the
  16   McGee Action for anyone insured under the POLICY. Therefore, KINSALE does
  17   not and never did have a duty to defend GOLDEN BEGINNINGS or any other
  18   insured under the POLICY with regard to the McGee Action;
  19         2.     Judgment is entered in favor of KINSALE on the Second Claim for
  20   Relief on the Complaint, to wit, that after application of the terms, conditions,
  21   exclusions and endorsements of the KINSALE POLICY there is no potential for
  22   coverage for the McGee Action for anyone insured under the POLICY. Therefore,
  23   KINSALE does not and never did have a duty to indemnify GOLDEN
  24   BEGINNINGS or any other insured under the POLICY with regard to the McGee
  25   Action;
  26         3.     Judgment is entered in favor of KINSALE on the Third Claim for
  27   Relief on the Complaint, to wit, that there is no potential for coverage for the McGee
  28   Action for anyone insured under the KINSALE POLICY due to a material breach of


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   1   warranty in the application for the POLICY. Therefore, the POLICY is void as
   2   regards coverage for the McGee Action, such that KINSALE does not and never did
   3   have a duty to defend GOLDEN BEGINNINGS or any other insured under the
   4   POLICY with regard to the McGee Action;
   5         4.     Judgment is entered in favor of KINSALE on the Fourth Claim for
   6   Relief on the Complaint, to wit, that there is no potential for coverage for the McGee
   7   Action for anyone insured under the KINSALE POLICY due to a material breach of
   8   warranty in the application for the POLICY. Therefore, the POLICY is void as
   9   regards coverage for the McGee Action, such that KINSALE does not and never did
  10   have a duty to indemnify GOLDEN BEGINNINGS or any other insured under the
  11   POLICY with regard to the McGee Action;
  12         5.     The Fifth and Sixth Claims for Relief of the Complaint are dismissed
  13   without prejudice as moot;
  14         6.     Judgment is entered in favor of KINSALE on the Seventh Claim for
  15   Relief on the Complaint, to wit, that there is no potential for coverage for the McGee
  16   Action for anyone insured under the KINSALE POLICY after application of the
  17   terms, conditions, exclusions and endorsements of the KINSALE POLICY and due
  18   to a material breach of warranty in the application for the POLICY. Therefore,
  19   KINSALE is entitled to reimbursement from GOLDEN BEGINNINGS of the
  20   reasonable attorney’s fees and costs it incurred in defense of the McGee Action from
  21   November 6, 2020 forward.
  22         7.     In consideration of KINSALE’s waiver of this right to reimbursement,
  23   GOLDEN BEGINNINGS shall assume its own defense to the McGee Action
  24   effective September 15, 2021, and shall within ten (10) days of the Entry of this
  25   Judgment either execute a written retainer agreement with existing defense counsel
  26   (Angela Haskins, Esq. of Haight, Brown & Bonesteel, LLP) or execute and file a
  27   substitution of attorney form substituting Haight, Brown & Bonesteel out of the case
  28   and inserting counsel of GOLDEN BEGINNINGS’ choice.


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   1        8.    Judgment is entered in favor of KINSALE on the Complaint in its
   2   entirety and against defendants TELITHA McGEE, deceased, by and through her
   3   personal/legal representative, DAWN McGEE ROUTT; DAWN McGEE ROUTT,
   4   an individual; MONICA AUSTIN, an individual; DAVID HALL, an individual; and
   5   SABRINA LOUIS, an individual; and
   6        9.    Defendant GOLDEN BEGINNINGS shall take nothing by way of
   7   judgment against KINSALE.
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       DATED: September 30, 2021        __________________________________
                                        DOLLY M. GEE
  11                                    UNITED STATES DISTRICT JUDGE
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